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                                          United States District Court
                                           Western District of Wisconsin
                                         Robert W. Kastenmeier Courthouse
                                         120 North Henry Street, Room 560
                                            Madison, Wisconsin 53703

  Chambers of                                                                                          Telephone
William M. Conley                                                                                    608-264-5087
 District Judge

                                                 August 27, 2021


       Counsel of Record

              RE:      Nokia Corporation v. Apple Inc.
                       Case No. 10-cv-249-wmc

       Dear Counsel:

             I have been contacted by Judge William M. Conley who presided over the above-
       mentioned case.

               Judge Conley informed me that it has been brought to his attention that while he presided
       over the case he owned stock in Apple. His ownership of stock neither affected nor impacted his
       decisions in this case. However, his stock ownership would have required recusal under the
       Code of Conduct for United States Judges, and thus, Judge Conley directed that I notify the parties
       of the conflict.

               Advisory Opinion 71, from the Judicial Conference Codes of Conduct Committee, provides
       the following guidance for addressing disqualification that is not discovered until after a judge
       has participated in a case:

                              [A] judge should disclose to the parties the facts bearing on
                       disqualification as soon as those facts are learned, even though that
                       may occur after entry of the decision. The parties may then
                       determine what relief they may seek and a court (without the
                       disqualified judge) will decide the legal consequence, if any, arising
                       from the participation of the disqualified judge in the entered
                       decision.
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       Although Advisory Opinion 71 contemplated disqualification after a Court of Appeals oral
argument, the Committee explained “[s]imilar considerations would apply when a judgment was
entered in a district court by a judge and it is later learned that the judge was disqualified.”

         With Advisory Opinion 71 in mind, you are invited to respond to Judge Conley’s
disclosure of a conflict in this case. Should you wish to respond, please submit your response on
or before October 27, 2021. Any response will be considered by Chief Judge James D. Peterson
of this court without the participation of Judge Conley.



                                            Sincerely,

                                            /s/

                                            Joel Turner
                                            Chief Deputy Clerk




JT/cak
